                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


DUKE ENERGY CAROLINAS, LLC,

                   Plaintiff/Counter-Defendant

       vs.

NTE CAROLINAS II, LLC, NTE                                  Civil Action No. 3:19-cv-515
CAROLINAS II HOLDINGS, LLC, NTE
ENERGY LLC, NTE SOUTHEAST
                                                       MOTION TO STRIKE DUKE’S
ELECTRIC COMPANY, LLC, NTE ENERGY
                                                     SUMMARY JUDGMENT FILING OR
SERVICES COMPANY, LLC, and CASTILLO
                                                     FOR ALTERNATE RELIEF AND FOR
INVESTMENT HOLDINGS II, LLC
                                                           EXPEDITED REVIEW
               Defendants/Counterclaimants/
               Plaintiffs

       vs.

DUKE ENERGY PROGRESS, LLC, AND
DUKE ENERGY CORPORATION

                   Defendants.




       NTE Carolinas II, LLC, NTE Carolinas II Holdings, LLC, NTE Energy, LLC, NTE

Southeast Electric Company, LLC, NTE Energy Services Co., and Castillo Investment Holdings

II, LLC (collectively, “NTE”), by and through their undersigned attorneys, hereby move this Court

for entry of an order striking Duke’s summary judgment filing (ECF #191–194) and requiring

Duke to file a conforming brief on the grounds Duke’s filing does not comply with Local Civil

Rule 7.1 and violates the letter and spirit of the Court’s order limiting summary judgment briefs to

35 pages. In the alternative, NTE respectfully requests that the Court permit NTE to file a brief of

equivalent length—13,563 words—in opposition to Duke’s motion.



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                            REQUEST FOR EXPEDITED REVIEW

       NTE respectfully requests expedited review and resolution of this matter so that NTE has

sufficient time to prepare its opposition to Duke’s motion.

                      CONSULTATION WITH COUNSEL FOR DUKE

       Pursuant to Local Civil Rule 7.1(b), undersigned counsel certify that they conferred with

counsel for Duke to resolve this issue without seeking the Court’s assistance. Duke, however,

rejected NTE’s request that it file a corrected memorandum that complies with the Local Rules

and this Court’s order and emailed a letter setting forth its position to the Court.

       Respectfully submitted, this the 7th day of April, 2022.

                                                        s/ Marguerite S. Willis
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on April 7, 2022, NTE filed the foregoing Motion to

Strike Duke’s Summary Judgment Filing or for Alternate Relief and for Expedited Review via

CM/ECF, which will serve all counsel of record.



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